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                             15                               UNITED STATES BANKRUPTCY COURT

                             16                               NORTHERN DISTRICT OF CALIFORNIA

                             17                                       SAN FRANCISCO DIVISION

                             18
                                                                                    Bankruptcy Case
                             19                                                     No. 19-30088 (DM)
                                    In re:
                             20                                                     Chapter 11
                                    PG&E CORPORATION,
                             21                                                     (Lead Case)
                                             - and -
                             22                                                     (Jointly Administered)
                                    PACIFIC GAS AND ELECTRIC
                             23     COMPANY,                                        NOTICE OF FILING OF PROPOSED
                                                                                    FINAL ORDERS ON FIRST DAY AND
                             24                                  Debtors.           OTHER MOTIONS TO BE HEARD AT
                                                                                    FEBRUARY 27 OMNIBUS HEARING
                             25      Affects PG&E Corporation
                                     Affects Pacific Gas and Electric Company      Date: February 27, 2019
                             26      Affects both Debtors                          Time: 9:30 a.m. (Pacific Time)
                                                                                    Place: United States Bankruptcy Court
                             27     * All papers shall be filed in the Lead Case,          Courtroom 17, 16th Floor
                                    No. 19-30088 (DM).                                     San Francisco, CA 94102
                             28
                                NOTICE OF FILING OF PROPOSED FINAL ORDERS
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             PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
 1   Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
 2   debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
     Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States
 3   Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District
     of California (San Francisco Division) (the “Bankruptcy Court”). A hearing was held on January
 4   31, 2019 (the “First Day Hearing”), where, among other things, the Bankruptcy Court granted
     interim relief regarding the Motions listed in Section I, below.
 5

 6           PLEASE TAKE FURTHER NOTICE that, the Bankruptcy Court will hold a hearing on
     February 27, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
 7   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
     Gate Avenue, San Francisco, California 94102. At the Omnibus Hearing, the Bankruptcy Court will
 8   hear the motions and applications filed by the Debtors and listed in Sections I and II below (the
     “Motions”).
 9

10           PLEASE TAKE FURTHER NOTICE that, attached hereto as Exhibits 1-16 are the
     Debtors’ proposed final orders granting the relief requested in each of the Motions. Each of the
11   Motions in Section I were filed with proposed interim orders as exhibits, which have since been
     approved by the Bankruptcy Court and entered on the docket. In the instances where the proposed
12   final order or any exhibits thereto differ materially from the interim order entered by the Bankruptcy
     Court, the proposed order previously filed with the Motion, or any exhibits thereto, a redline
13
     comparison has been included in the Exhibit.
14

15     I.   MOTIONS WHERE INTERIM RELIEF WAS GRANTED AT THE FIRST DAY
            HEARING AND FINAL RELIEF WILL BE SOUGHT AT THE OMNIBUS
16          HEARING
17          1.      Cash Management Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),
18   363(b), and 507 and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to (I)(A)
     Continue Existing Cash Management System, (B) Honor Certain Prepetition Obligations Related to
19   the Use Thereof, (C) Continue Intercompany Arrangements, (D) Continue to Honor Obligations
     Related to Joint Infrastructure Projects, and (E) Maintain Existing Bank Accounts and Business
20   Forms; and (II) Waiving the Requirements of 11 U.S.C. § 345(b) [Dkt No. 7]. Copies of the
     proposed final order on the Cash Management Motion and a redline comparison against the interim
21
     order previously entered by the Court are attached hereto as Exhibit 1.
22
            2.      Insurance Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 362(d),
23   363(b), 363(c), and 364 and Fed. Bankr. P. 4001, 6003, and 6004 for Interim and Final Orders (I)
     Authorizing the Debtors to Maintain Insurance Policies, Workers’ Compensation Program, and
24   Surety Bond Program and Pay All Obligations With Respect Thereto; and (II) Granting Relief From
     the Automatic Stay with Respect to Workers’ Compensation Claims [Dkt No. 9]. Copies of the
25   proposed final order on the Insurance Motion and a redline comparison against the interim order
26   previously entered by the Court are attached hereto as Exhibit 2.

27          3.     Exchange Operator Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 362,
     363, and 364 and Fed. R. Bankr. P. 6003 and 6004 to (A) Honor Prepetition Obligations to Natural
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     Gas and Electricity Exchange Operators, (B) Grant Administrative Expense Claims and Authorize
 1   Posting of Postpetition Collateral to Exchange Operators, (C) Modify the Automatic Stay, and (D)
 2   Grant Related Relief [Dkt No. 15]. Copies of the proposed final order on the Exchange Operator
     Motion and a redline comparison against the interim order previously entered by the Court are
 3   attached hereto as Exhibit 3.

 4           4.     Operational Integrity Suppliers Motion. Motion of Debtors Pursuant to 11 U.S.C.
     §§ 105(a), 363(b), and 503(b)(9) and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final
 5   Authority to Pay Prepetition Obligations Owed to Certain Safety and Reliability, Outage, and
     Nuclear Facility Suppliers [Dkt No. 12]. Copies of the proposed final order on the Operational
 6
     Integrity Suppliers Motion and a redline comparison against the interim order previously entered by
 7   the Court are attached hereto as Exhibit 4.

 8           5.     Lien Claimants Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b),
     and 503(b) and Fed. R. Bankr. P. 6003 and 6004 (I) for Interim and Final Authority to Pay
 9   Prepetition Obligations Owed to Shippers, Warehousemen, and Other Lien Claimants, and (II)
     Granting Administrative Expense Priority Status for Claims Arising from Goods Delivered to the
10
     Debtors Postpetition [Dkt No. 13]. Copies of the proposed final order on the Lien Claimants Motion
11   and a redline comparison against the interim order previously entered by the Court are attached
     hereto as Exhibit 5.
12
             6.     Taxes Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 363, 507(a), and
13   541(d) and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to Pay Certain
     Prepetition Taxes and Assessments and Granting Related Relief [Dkt No. 11]. Copies of the
14   proposed final order on the Taxes Motion and a redline comparison against the interim order
15   previously entered by the Court are attached hereto as Exhibit 6.

16          7.       Customer Programs Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),
     363(b), and 507(a)(7) and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Orders (I)
17   Authorizing Debtors to (A) Maintain and Administer Customer Programs, Including Public Purpose
     Programs, and (B) Honor Any Prepetition Obligations Relating Thereto; and (II) Authorizing
18   Financial Institutions to Honor and Process Related Checks and Transfers [Dkt No. 16]. Copies of
     the proposed final order on the Customer Programs Motion and a redline comparison against the
19
     interim order previously entered by the Court are attached hereto as Exhibit 7.
20
             8.     Employee Wages and Benefits Motion. Motion of Debtors Pursuant to 11 U.S.C. §§
21   105(a), 363(b), and 507 and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to (I)
     Pay Prepetition Wages, Salaries, Withholding Obligations, and Other Compensation and Benefits;
22   (II) Maintain Employee Benefits Programs; and (III) Pay Related Administrative Obligations [Dkt
     No. 8]. Copies of the proposed final order on the Employee Wages and Benefits Motion and a
23
     redline comparison against the interim order previously entered by the Court are attached hereto as
24   Exhibit 8.

25          9.      NOL Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(A) and 362 for
     Interim and Final Orders Establishing Notification Procedures and Approving Restrictions on
26   Certain Transfers of Stock of, and Claims Against, the Debtors [Dkt No. 10]. Copies of the
     proposed final order on the NOL Motion and a redline comparison against the proposed final order
27   previously filed with the Motion are attached hereto as Exhibit 9.
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             10.    DIP Financing Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 362, 363,
 1   364, 503 and 507 and Fed. R. Bankr. P. 2002, 4001, 6003, 6004 and 9014 for Interim and Final
 2   Orders (I) Authorizing the Debtors to Obtain Senior Secured, Superpriority, Postpetition Financing,
     (II) Granting Liens and Superpriority Claims, (III) Modifying the Automatic Stay, (IV) Scheduling
 3   Final Hearing, and (V) Granting Related Relief [Dkt No. 23]. A copy of the proposed final order on
     the DIP Financing Motion will be attached as an exhibit to a subsequent notice that will be filed
 4   prior to the Omnibus Hearing.
 5    II.   ADDITIONAL MOTIONS TO BE CONSIDERED AT THE OMNIBUS HEARING
 6          11.    Reclamation Procedures Motion. Motion of Debtors for Entry of Order Pursuant to
 7   11 U.S.C. §§ 546(c) and 105(a) and Fed. R. Bankr. P. 9019 Establishing and Implementing
     Exclusive and Global Procedures for the Treatment of Reclamation Claims [Dkt No. 30]. A copy of
 8   the proposed order on the Reclamation Procedures Motion is attached hereto as Exhibit 11.

 9          12.     Section 503(b)(9) Procedures Motion. Motion of Debtors Pursuant to 11 U.S.C.
     §§ 503(b)(9) and 105(a) for Entry of an Order Establishing Procedures for the Assertion, Resolution,
10   and Satisfaction of Claims Asserted Pursuant to 11 U.S.C. § 503(b)(9) [Dkt No. 31]. Copies of the
11   proposed order on the 503(b)(9) Procedures Motion and a redline comparison against the proposed
     order previously filed with the 503(b)(9) Procedures Motion are attached hereto as Exhibit 12.
12
            13.     Utilities Motion. Motion of Debtors Pursuant to 11 U.S.C. §§ 366 and 105
13   Requesting Entry of an Order (I) Approving Debtors’ Proposed Form of Adequate Assurance for
     Payment of Utility Providers, (II) Establishing Procedures Providing Adequate Assurance and
14   Resolving Objections of Utility Providers, and (III) Prohibiting Utility Providers from Altering,
     Refusing, or Discontinuing Service [Dkt No. 32]. A copy of the proposed order on the Utilities
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     Motion is attached hereto as Exhibit 13.
16
            14.     Case Management Motion. Motion of Debtors for Entry of Order Implementing
17   Certain Notice and Case Management Procedures [Dkt No. 352]. Copies of the proposed order on
     the Case Management Motion and a redline comparison against the proposed order previously filed
18   with the Case Management Motion are attached hereto as Exhibit 14.
19          15.    Interim Compensation Procedures Motion. Motion of Debtors Pursuant to 11
     U.S.C. §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for
20
     Interim Compensation and Reimbursement of Expenses of Professionals [Dkt No. 349]. A copy of
21   the proposed order on the Interim Compensation Procedures Motion is attached hereto as
     Exhibit 15.
22
            16.     Ordinary Course Professionals Motion. Motion of Debtors Pursuant to 11 U.S.C.
23   §§ 105(a), 327, 328, and 330 for Authority to Employ Professionals Used in the Ordinary Course of
     Business Nunc Pro Tunc to the Petition Date [Dkt No. 350]. Copies of the proposed final order on
24
     the Ordinary Course Professionals Motion and a redline comparison against the proposed order
25   previously filed with the Ordinary Course Professionals Motion are attached hereto as Exhibit 16.

26          PLEASE TAKE FURTHER NOTICE that copies of each pleading identified herein can be
     viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov, (ii) by
27   contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
     94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC (“Prime Clerk”), at
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     https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
 1   parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
 2   Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.

 3         PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to further amend,
     modify, or supplement the proposed final orders at any time up to and during the Omnibus Hearing.
 4

 5   Dated: February 19, 2019
                                            WEIL, GOTSHAL & MANGES LLP
 6                                          KELLER & BENVENUTTI LLP
 7                                           /s/ Tobias S. Keller
                                                        Tobias S. Keller
 8
                                             Proposed Attorneys for Debtors and Debtors in
 9                                           Possession
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